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UNITED STATES DlSTR_lCT COURT

LAFAY'ETTE, LOU|S|ANA LAFAYETTE DWISION

IBERIABANK CTVIL ACTION NO. 6:l4-CV»2448

v. JUDGE DOHERTY

DARRYL R. BROUSSARD, ET AL. MAGISTRATE .TUDGE WHITEHURST
MEMORANDUM RULING

 

Currently pending before the Ccurt is a motion for partial summary judgment filed by
plaintiff Iberiabanl§, Whereby lberiabanl< seeks dismissal of defendant Darryl Broussard’s
counterclaim for attorney’s fees. [Doc. 59] For the following reasons, the motion is DENIED.

I. Factual and Procedural Background

Iberiabanl< filed this suit against Darryl R. Broussard, alleging multiple claims arising
from Mr. Broussard’s actions during his employment With Iberiabank and its predecessor Teche
Federal Banlc (“Teche”). Generally the allegations by lberiabank against Mr. Broussard are as
follows: lberiabank is the successor to Teche as a result of a May 31, 2014 merger of the two
banl<;s. Broussard served as the Senior Vice President and Chief Lending Off`lcer of Teche from
1996 until the date of the merger. Following the merger, Broussard became an employee of
lberiabani<. Soon after Broussard learned that Teche Would be acquired by lberiabank, he began
actively breaching his fiduciary obligations by assisting Teche lending officers in their efforts to
secure positions With competitor banks As a result of Broussard’s efforts, in May of 2014,

certain Teche lending officers and Broussard accepted positions at JD Bank, a Teche and

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lberiabank competitor. lberiabank alleges Broussard divulged Teche and Iberiabanl<’s proprietary
and confidential information to JD Banl<, including individual bale officers’ loan portfolio
information lberiabanl<: further alleges in May of 2014, Broussard accessed over 4,000 business
files belonging to Teche and Iberiabanlc through lberiabanl< and Teche's computers, and
knowingly and deliberately deleted the files from Teche and iberiabank’s computer networl<.
[Doc. Nos. 18, 23]

On July 3, 2014, Iberiabanl<: terminated Broussard. The same day, Iberiabanl< made a
demand for arbitration, asserting claims arising out of two contracts between Iberiabank and
Broussard.l [Doc. l8, pp. 5-6] On August 7, 2014, Iberiabank filed suit in this Court for claims
not subject to arbitration, as Well as reasserting the majority of claims brought in arbitration2
[Doc. 43, p. 4] On August 8, 2014, Broussard filed suit in state court, seeking an order staying
the arbitration and a declaration that the claims asserted in arbitration Were not subject to
arbitration [Doc. 59-6, pp. l, 5] On August 19, 2014, Broussard dismissed his state court suit.
[Doc. 59-7] On February 3, 2015, Iberiabank and Broussard filed a joint motion to dismiss the
arbitration proceeding, pursuant to an agreement between them to assert all claims in the suit

pending before this Court. [Doc. 59-8]

 

ll\/Eore specifically, Iberiabank asserted claims of breach of the “Change of Control Severance
Agreement,” breach of the “Employment Agreement,” breach of statutory fiduciary duties, and fraud.
[Doc. 59-5, pp. 8-!1]

2With the exception offraud, Iberiabank reasserted all claims originally brought in the arbitration
proceeding [Doc. l, pp. 24~26] Iberiabank additionally brought claims Of violation of the computer fraud
and abuse act, 18 U.S.C. § 1030, violation of La. R.S. § 14:73.7 (“Computer Tampering”), conversion,
and misappropriation of trade secrets [Id. at 18-23]

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Following multiple amendments and supplementations, the claims asserted against l\/lr.
Broussard by Iberiabanl< pending before this Court are: (l) Violation of the Computer Fraud and
Abuse Act, 18 U.S.C. § 1030; (2) Violation of La. R.S. § 14:73.7 (“Computer Tampering”); (3)
Misappropriation of Trade Secrets; (4) Material Breach of the Change fn Control Severance
Agreement (“CCSA”); (5) Material Breach of the lberiabanl< Employment Agreement; (6)
Breach of Fiduciary Duties; (7) Unfair Trade Practices; and (8) Fraud. [Doc. 23] The claims
asserted against lberiabank by l\/lr. Broussard are: (l) Breach of the Employrnent Agreement; (2)
Attorney’s Fees; and (3) intentional Interference with Business Relations. [Doc. 43, pp. 4, 5, lO;
see also Doc. 96]

lberiabanl< now moves this Court to dismiss Broussard’S counterclaim for attorney’S
fees. Broussard’s counterclaim sets forth the following allegations in support of his claim for
attorney’s fees:
36.
Under a Change in Control and Severance Agreement, the benefit of
which IBERIABANK has claimed in this proceeding, “[t]he Banlr shall reimburse
[Mr. Broussard] for all costs and expenses, including reasonable attorneys’ fees
arising from [any controversy or claim arising out of or relating to the Agreement]
. . notwithstanding the ultimate outcome thereof . . . .” This includes “any
mutual settlement of such issue.”
37.
As explained above, in order to induce IBERIABANK to mediate this

claim, Mr. Broussard agreed to dismiss the Arbitration, reserving all claims

asserted therein for judicial disposition in this proceeding

38.

Among those claims was Mr. Broussard’s claim for contractual
reimbursement of all costs and expenses incurred litigating claims originally

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asserted in the arbitration proceeding, and which are now pending before this
Honorable Court. Those claims included, but are not limited to many allegations
regarding recniiting, which Mr. Broussard has vehemently denied.

39.

As demonstrated above at paragraph thirty-six, under the Change in
Control and Severance Agreement IBERIABANK is contractually obligated to
pay all attorneys’ fees related to l\/[r. Broussard’s defense of all such claims.
Accordingly, l\/lr. Broussard prays for specific performance under the contract

[Doc. 43, pp. lO-ll (alterations, emphasis in original)]
The contract referenced above (i.e. “Change In Control Severance Agreement”) provides
in pertinent part as follows:

[8.] (c) Arbitration. Any controversy or claim arising out of or
relating to this Agreement, or the breach thereof, shall be settled by
arbitration in accordance with the rules then in effect of the district office of the
American Arbitration Association (“AAA”) nearest to the home office of the
Bank, and judgment upon the award rendered may be entered in any court having
jurisdiction thereof, except to the extent that the parties may otherwise reach a
mutual settlement of such issue. The Bank shall incur the cost of all fees and
expenses associated with filing a request for arbitration with the AAA, Whether
such filing is made on behalf of the Bank or the Employee, and the costs and
administrative fees associated with employing the arbitrator and related
administrative expenses assessed by the AAA. The Bank shall reimburse
Employee for all costs and expenses, including reasonable attorneys’ fees,
arising from such dispute, proceedings or actions, notwithstanding the
ultimate outcome thereof, following the delivery of the decision of the arbitrator
or upon delivery of other legal judgment or settlement of the matter.

[Doc. 59~3, p. 4 (emphasis added)]
II. Summary Judgment Standard
“A party may move for summary judgment, identifying each claim or defense - or the part

of each claim or defense - on which summary judgment is sought.” Fed.R.Civ.P. 56(a). “The

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court shall grant summary judgment if the movant shows that there is no genuine dispute as to
any material fact and the movant is entitled to judgment as a matter of law.” Id.

A party asserting that a fact cannot be or is genuinely disputed must support the assertion

(A) citing to particular parts of materials in the record, including depositions,
documents, electronically stored information, affidavits or declarations,
stipulations (including those made for purposes of the motion only), admissions,
interrogatory answers, or other materials; or

(B) showing that the materials cited do not establish the absence or presence of a
genuine dispute, or that an adverse party cannot produce admissible evidence to
Support the fact.

fci at § (c)(l).
As summarized by the Fifth Circuit:

When seeking summary judgment, the movant bears the initial
responsibility of demonstrating the absence of an issue of material fact with
respect to those issues on which the movant bears the burden of proof at trial.
However, where the nonmovant bears the burden of proof at trial, the movant may
merely point to an absence of evidence, thus shifting to the non-movant the
burden of demonstrating by competent summary judgment proof that there is an
issue of material fact Warranting trial. Only when “there is sufficient evidence
favoring the nonmoving party for a jury to return a verdict for that party” is a full

trial on the merits warranted Anderson v. Ltberty Lobby, Inc., 477 U.S. 242, 249
(1986).

Lindsey v. Sears Roebuck and Co., l6 F.3d 616, 618 (5lh Cir.l994)(internal citations omitted).
Finally, in evaluating evidence to determine whether a factual dispute exists, “credibility
determinations are not part of the summary judgment analysis.” Little v. Lz`quz`ct Atr Corp., 37
F.3d 1069, 1075 (5th Cir.1994). To the contrary, “[i]n reviewing all the evidence, the court must
disregard all evidence favorable to the moving party that the jury is not required to believe, and

should give credence to the evidence favoring the nonmoving party as well as that evidence

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supporting the moving party that is uncontradicted and unimpeached.” Roberts v. Caraltnal
Servs., 266 F.3d 368, 373 (5`th Cir.ZOOl).
IH. AnalySiS

A. Whether Broussard may seek attorney’s fees

According to iberiabank, the contractual provision upon which Broussard relies only
allows reimbursement of attorney’s fees “awardable as a consequence of an arbitration
proceeding, not a court proceeding.” [Doc. 5 9-2, p. 7] Iberiabank argues if Broussard intended to
pursue recovery of costs and attorney’s fees incurred in litigation, “he should have obtained an
amendment to the CCSA from IBERIABANK . . . to have il 8(c) apply to lawsuits as well as to
arbitration proceedings.” [ld.} Because nothing in the CCSA allows for reimbursement of
attomey’s fees incurred in litigation, lberiabank seeks dismissal of Broussard’s claim for
attorney’s fees. [ld. at ll]

In opposition, Broussard asserts “the parties unconditionally agreed to incorporate into
this proceeding all claims which had been made in the arbitration,” and therefore “the provision
requiring an arbitration was effectively modified.” [Doc. 70, p. 7] Broussard argues, “A written
amendment to the CCSA was not needed,” as contracts “may be modified orally, in writing,
and/or by the conduct of the parties, even when the contract contains a provision that change
orders must be in writing” [Id. at n. 4 (citing Lantech Const. Co., LLC v. Speeci, l5 So.3d 289,
293 (La.App. 2009)] Broussard additionally cites the Court to a twenty-five page exhibit, which
consists of an assortment of various documents, but does not cite the Court to the poge, or

document upon which he reliesl [Id. at 6] 'i`he Court can only therefore presume Broussard is

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relying on that portion of a letter dated January 8, 2015, from counsel for lberiabank to counsel
for Broussard, wherein lberiabanl<’s counsel states in pertinent part:

This letter confirms our call yesterday, which included our discussion of
participating in a mediation of this dispute

As l pledged to do, l have consulted with my client about submitting our
clients’ disputes to mediation and can confirm that IBERIABANK will agree to
participate in mediation with your client. . . . lBERlABANK’s agreement to do
these things is subject to the following provisions:

l) The parties will jointly file a motion to dismiss the arbitration . . .;
and

2) Either party may amend the federal court lawsuit (“Lawsuit”)
to add claims that may, or may not, be currently asserted either in the
Lawsnit or in the Arbitration Proceeding, and, pursuant to F.R.Civ.P. 15(a)(2),
the other party Will consent to such an amendment, reserving all rights to
assert defenses, except a defense that the matter, or any issue or claim, is
exclusively arbitrable (which is deemed waived by the dismissal of the AAA
proceeding).

Please let rne know by Friday, if possible if these terms are acceptable l’ll
then prepare the documents envisioned above.

[Doc. 70-2, pp. 2l-22 (emphasis added; emphasis in original omitted)] Five days later,
lberiabank’s counsel e-rnailed counsel for Broussard, asking “Will you please get back to me on
this?” [Id. at 23] The same day, counsel for Broussard responded to the e~mail, stating “Yes,
my client has authorized me to agree. Sorry for the delay. Please set it up and send the
documents.” [Id.] lf the informal letter agreement was ever fonnalized, that document is not
included in the cited exhibit

Nevertheless, lberiabank agrees “the parties consented to amend their pleadings in this

case to assert the same claims pled in the arbitration.” [Doc. 91, p. 3; see also Doc. 59-2, p. 5, n.

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4] However, lberiabank argues the claim for attomey’s fees asserted in this matter “is vastly
expanded (in both scope and amount) from the counterclaim for attorney’s fees [Broussard]
asserted in the arbitration.” [Doc. 91, p. 3] According to Iberiabank, the language of
Broussard’S counterclaim for attorney’s fees before the American Arbitration Association limited
the claim to only attorney’s fees incurred in the arbitration proceeding ln support of this
argument, lberiabank cites the following language from Broussard’s counterclaim before the
AAA:

4. Becouse IBERMBANK asserted a demand for Arbitration, DARRYL has

sustained damages and incurred costs, including reasonable uttorneys’fees, for

which he seeks an award of reimbursement from IBERIABANK.

5. DARRYL also seeks lBERlABANK’s advancement of all administrative costs

incurred throughout this proceeding pursuant to the clear and unambiguous

terms of the Severance Agreement and the Bank Arbitration Agreement attached

to the lBERlABANK employment agreement
[Doc. 91, p. 4 (ernphasis in original)] lberiabank concludes, “ln sum, the parties consented to
incorporate into this proceeding all claims raised in the arbitration, which, for Broussard, only
included a claim for reimbursement under the ‘clear and unambiguous terms of the Severance
Agreement . . .’ for the attorney’s fees and costs he incurred ‘ [b]ecause IBERIABANK asserted a
demand for Arbitration.”’ [Doc. 91, p. 4 (alterations in original)]

As set forth above, there is no dispute the parties agreed “to incorporate into this
proceeding all claims raised in the arbitration,” which included Broussard’s particular claim for
attorney’s fees, as provided for in the Change fn Control Severance Agreement. Additionally, the

evidence submitted to this Court suggests the argued agreement might have been broader than

lberiabank claims, in that the parties appear to have agreed either could “amend the federal court

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lawsuit (‘Lawsuit’) to add claims that may, or may not, be currently asserted either in the Lawsuit
or in the Arbitration Proceeding . . .” [Doc. 70-2, p. 22 (emphasis added)] Further, from what
has been presented to the Court, it appears the parties additionally agreed to reserve “all rights to
assert defenses, except a defense that the matter, or any issue or claim, is exclusively arbitrable .
. .” [Id. (emphasis added)] Thus, it would appear the parties might have agreed Broussard could
amend his counterclaim in this Court to assert not only those claims asserted in arbitration, but
also additional claims not asserted in arbitration3 lt further appears the parties might have agreed
to reserve all defenses, except a defense that an issue or claim is exclusively arbitrable
Accordingly, the Court finds lberiabank has not shown, as a matter of law, dismissal of
Broussard’s claim for attorney’s fees is warranted on the grounds argued, t.e. that attorney’s fees
can only be “awardable as a consequence of an arbitration proceeding not a court proceeding.”
[i)oc. 59-2, p. 6]

B. Whether Broussard’s State court lawsuit resulted in a waiver of any
arbitration rights

lberiabank additionally argues because Broussard filed a state court lawsuit seeking to
have the arbitration proceeding dismissed, he thereby “waived any right to arbitration, and, by
extension, any claim for attorneys’ fees.” {Doc. 59~2, p. 8; see also Doc. 9l, pp. 1, 2] ln support
of this position, lberiabank relies upon Sim v. Beauregard Elec. Co-op, lnc., 322 So.2d 410, 4l5

(La.App. 3 Cir. 1975). ln Sim, the Louisiana Third Circuit Court of Appeal stated as follows:

 

3Although not abundantly clear from the briefing in opposition to summary judgment,
Broussard’s pleadings before this Court and the AAA are clearly limited to reimbursement of attorneys
fees for disputes arising out of the Change in Control and Severance Agrecment. [Doc. 43, p. 10] While
perhaps the language of the parties’ informal agreement would have allowed Broussard to expand his
claim for attorney’s fees if available by law or contract, no other basis has been argued or pleaded, and
thus, at this time, any such expanded claim for attomey’s fees likely would be waived

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The institution of a suit by one party seeking damages for the alleged breach of

such a contract is incompatible with a later demand by the same party that the

dispute be settled by arbitrationl We believe that the filing of such a suit by a

party to the contract, without relying on the arbitration provision in that

agreement, constitutes a waiver of that party’s right to demand arbitration of the

dispute.

Icl. at 415. This Court notes, however, that not mentioned by counsel is the relevant fact that
seven years after the Sim decision, the Louisiana Supreme Court refined the Third Circuit’s
holding in Sim, stating, “Neither the mere answering of a judicial demand nor the mere delay in
filing the demand for arbitration necessarily constitutes a waiver of the right to demand
arbitration, especially in the absence of prejudice to the opposing party.” Maithews~McCracken
Ruilanal Corp. v. Cily of Plaqiiemine, 414 So.2d 756, 757 (La. 1982). The Supreme Court
explicitly identified the Sim case as an “extreme case” warranting the result therein. lai at 757
(“Only in extreme cases have courts found waiver of the right to demand arbitration . . . In Sz'm .
. ., the plaintist motion to stay the proceedings in his own salt was denied when that party filed
the suit in court and waited 33 months before filing its demand for arbitration on the first day of
trial.”) (Emphasis in original.)

This Court finds that for all the reasons noted above, lberiabank has failed to show, as a
matter of law, that by filing an action in state court, Broussard waived the right to seek
reimbursement of attorney’s fees and costs in this suit. This is particularly true in this matter,
whereJ for the reasons noted above, it Would appear the parties agreed, at the very least,
Broussard could amend his counterclaim to assert claims made before the AAA, i.e. Broussard’s

claim for attomey’ fees arising out of the CCSA. Accordingly, the Court finds dismissal of

Broussard’s claim for attorney’s fees on the basis argued by lberiabank is not warranted

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C. Whether the provision of the CCSA allowing for reimbursement of costs and
attorney fees is contrary to public policy

Finally, lberiabank asserts “the CCSA language that permits Broussard to recover
attorney fees in a breach~of~fiduciary-duty case ‘notwithstanding the ultimate outcome thereof’ is
invalid on its face and contrary to law.” [Doc. 59~2, p.S] ln support, lberiabank cites this Court
to La. R.S. 6:286, entitled “lna'emnijicaiion of officers, directors, employees, and agents”
(emphasis added), which sets forth when a Louisiana state bank may indentuin its officers,
directors and employees “against liability.” lal. at (A)(l). lberiabank contends, “read as a whole,
the statute clearly uses the term ‘indernnification’ to also include at least ‘reasonable expenses
incurred.”’ [Doc. 91, p. 5] According to lberiabank, the statute only permits recovery of attorney
fees when an officer is “‘wholly successful’ in the defense of any proceeding to which he was a
party,” or when the officer is in “good faith and [meets] other requirements.” [Doc. 59~2, pp. 9,
103

First, whether the statute’s prohibition of indemnification of certain bank officers includes
reimbursement of attorney’s fees, or is limited to indemnification only of liability, is not clear to
this Court from the cited text or lberiabank’s very weak and flawed argument4 Regardless, even
were this Court to ind the statute applies to reimbursement of attorney’s fees, which it declines
to opine on at this juncture, it would further have to know whether Broussard will be “wholly
successful” in his defense to lberiabank’s claims, and/or whether Broussard “conducted himself

in good faith,” which this Court cannot know at this juncture. Thus, the Court cannot make such

 

4For example, lberiabank misrepresents and overstates the caselaw and statute to support its
position [See e.g. Doc. 59-2, p. lO (incorrectly stating § 236(1-1) is “cross-applied to officers in Section
286(F)”); Doc. 9l, p. 5 (incorrectly stating “at least one court has interpreted La. R.S. § 6:236 to apply to
claims for reimbursement of attorney’s fees”)]

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a factual determination in this Ruling, and further finds the briefing supplied as to La. R.S. 6:286
to be wholly inadequate as well. Therefore, movant has failed to carry its burden to show it is due
the relief requested
III. Conclusion

ln light of the reasons provided above, the motion for summary judgment [Doc. 59]
seeking dismissal of Broussard’s claim for attorney’s fees is DENIED.

THUS DONE AND SIGNED at Lafa e _- ' ":. this iii day of January,

     
 

2016.

 

 
   

REBECC.
UNITED TATES DISTRICT IUDGE

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